 1

 2

 3

 4

 5

 6

 7

 8                          UNITED STATES DISTRICT COURT

 9                         CENTRAL DISTRICT OF CALIFORNIA

10

11   ALVARO E. CALDERON,           ) NO. CV 19-8438-PA(E)
                                   )
12             Plaintiff,          )
                                   )
13        v.                       ) ORDER ACCEPTING FINDINGS,
                                   )
14   EUGENE KINSEY, et al.,        ) CONCLUSIONS AND RECOMMENDATIONS
                                   )
15                                 ) OF UNITED STATES MAGISTRATE JUDGE
               Defendants.         )
16   ______________________________)

17

18         Pursuant to 28 U.S.C. section 636, the Court has reviewed the

19   Complaint, all of the records herein and the attached Report and

20   Recommendation of United States Magistrate Judge.      Further, the Court

21   has engaged in a de novo review of those portions of the Report and

22   Recommendation to which any objections have been made.     The Court

23   accepts and adopts the Magistrate Judge’s Report and Recommendation.

24

25         IT IS ORDERED that Judgment shall be entered dismissing the

26   action without prejudice.

27   ///

28   ///
 1        IT IS FURTHER ORDERED that the Clerk serve forthwith a copy of

 2   this Order and the Judgment of this date on Plaintiff.

 3

 4             DATED: March 26, 2020.

 5

 6

 7                                      _______________________________
                                                PERCY ANDERSON
 8                                       UNITED STATES DISTRICT JUDGE

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                        2
